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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF TEXAS
                                   HOUSTON DIVISION

HONGLINH HUYNH,                               §
                                              §
     Plaintiff,                               §
                                              §       Case No. __________________
v.                                            §
                                              §
HARRIS HEALTH SYSTEMS a/k/a                   §
HARRIS COUNTY HOSPITAL                        §
DISTRICT,                                     §
                                              §
     Defendant.                               §

                        PLAINTIFF’S ORIGINAL COMPLAINT

     COMES NOW Plaintiff HongLinh Huynh, by and through her counsel, and for

Complaint against Defendant Harris Health Systems a/k/a Harris County Hospital

District, states as follows:

                               PARTIES AND JURISDICTION

     1.   At all times relevant hereto, Plaintiff, HongLinh Huynh has resided at 2201

Fountainview #F48, Houston, Texas, 77057 and is a citizen of the State of Texas.

     2.   At all times relevant hereto, Defendant Harris Health Systems a/k/a Harris County

Hospital District, a corporation licensed and doing business in the State of Texas, is and

at all times mentioned herein was an employer within the meaning of the Family Medical

Leave Act (FMLA). Defendant may be served with process by serving its Harris County

Attorney’s Office, Managing Attorney, Mercedes Leal, 2525 Holly Hall, Ste. 190,

Houston, Texas 77054.




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  3.   This Court has jurisdiction over this matter as this matter involves a federal

question based upon the Family Medical Leave Act.

  4.   Venue is proper in this district pursuant to 28 U.S.C.§1391(b)(1) and (b)(2)

because this is the District and Division in which Plaintiff resides and in which a

substantial part of the events or omissions giving rise to the claims occurred.

                          FAMILY MEDICAL LEAVE ACT

  5.   Plaintiff, HongLinh Huynh, is a qualified individual within the meaning of the

Family Medical Leave Act (“FMLA”).

  6.   Plaintiff is a full-time employee whom Defendant has employed for more than

one year.

  7.   On or about March 11, 2002, Defendant hired Plaintiff as a Staff Pharmacist.

  8.   On or about May 23, 2012, Plaintiff submitted a Certification of Health Care

Provider for Medical Leave, attached hereto and referenced herein as Exhibit “A”.

  9.   On or about May 25, 2012, Defendant approved Plaintiff’s request for FMLA

leave and provided notice of same, attached hereto and referenced herein as Exhibit “B”.

  10. Plaintiff’s FMLA leave expired on June 3, 2012, and she returned to work.

  11. On June 7, 2012, Defendant notified Plaintiff that her shift was being changed to

the 2:00 pm to 10:30 pm shift and provided notice of same, attached hereto and

referenced herein as Exhibit “C”. Plaintiff’s shift had consistently been from 8:15 am to

5:00 pm or 8:30 am to 5:30 pm since her date of hire in 2002.




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  12. As a result of the sudden shift change, Plaintiff immediately began experiencing

physical and mental complications due to the disruption of her normal daily routine and

sleep cycle. Plaintiff’s complications included chest pains, nausea, depression, loss of

appetite, and weight loss according to her treating physician Dr. Nghia Nguyen. A copy

of Dr. Nguyen’s evaluation and recommendation for Plaintiff’s work schedule along with

email to Defendant communicating same have been attached hereto as Exhibit “D” and

“E”.

  13. The ongoing disruption of and deleterious impact on Plaintiff’s routine and sleep

cycle was so significant that she was forced to request and take additional FMLA leave

on or about July 11, 2012, and September 21, 2012.

  14. Defendant intentionally interfered with Plaintiff’s exercise of rights provided

under the FMLA by its sudden and arbitrary decision to alter her shift which had been in

place for over a decade. Plaintiff suffered significant harm as a result of the unanticipated

and substantial disruption to her normal routine and schedule.

                                        DAMAGES

  15. As a result of Defendants’ actions, Plaintiff has suffered irreparable injuries,

including but not limited to loss of pay, benefits and other economic losses, emotional

pain and suffering, mental anguish, humiliation, embarrassment, personal indignity and

other intangible injuries for which she should be compensated.

                                     JURY DEMAND

 16.     Plaintiff demands a jury trial as to all claims that may be tried to a jury.




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                                  ATTORNEY FEES

17.    Plaintiff is entitled to an award of attorney fees and costs under the FMLA.

                                        PRAYER

WHEREFORE, Plaintiff respectfully prays to this Court as follows:

A.    For all compensatory and punitive damages with respect to the statutory claims in

      an amount being just;

B.    For reasonable costs, including attorney’s fees; and

C.    For all other equitable and legal relief to which Plaintiff appears entitled.

                                                     Respectfully Submitted,

                                                     By: /s/ Brian T. Nguyen
                                                     Brian T. Nguyen
                                                     State Bar No. 2404652
                                                     Federal ID No. 931391
                                                     Mukul S. Kelkar
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                                             COUNSEL FOR PLAINTIFF,
                                             HONGLINH HUYNH




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